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JUL 2 2022

IN THE UNITED STATES DISTRICT COURT FOR THE ss __|
EASTERN DISTRICT OF VIRGINIA SE LEXANDRIA VIRGKie

Alexandria Division

Joseph Hatcher,
Plaintiff,

William York, MD,

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)
)
v. ) 1:22ev47 (CMH/IDD)
)
)
Defendant. )

This matter is before the Court upon a Motion for Summary Judgment (“Motion”) [Dkt.
No. 22] filed by defendant William York, MD (“Dr. York” or “defendant’”) in this civil rights
action brought by Virginia state prisoner Joseph Hatcher (“plaintiff”). Broadly, plaintiff alleges
in this action that defendant violated his constitutional rights by failing to offer him adequate
medical assistance. [Dkt. No. 1]. Dr. York argues in his Motion that plaintiff (1) failed to
exhaust administrative remedies with respect to his claim and (2) that the record at summary
judgment demonstrates he is entitled to judgment as a matter of law. [Dkt. No. 23]. Although

plaintiff was provided the notice required by Roseboro v. Garrison, 528 F.2d 309 (4th Cir. 1975)

and Local Civil Rule 7(K), see [Dkt. No. 23], he has failed to either oppose defendant’s Motion
or request additional time with which to do so. Consequently, there is no reason for delay in
considering the instant Motion. For the reasons that follow, that Motion will be granted,
judgment will enter in Dr. York’s favor, and this action will be dismissed.

I. Background

A, The Complaint

As was explained in an Order dated May 31, 2022, see [Dkt. No. 19], plaintiffs

Complaint is not a model of clarity. Plaintiff expressly alleges that he suffered “extreme
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abdominal pain” while incarcerated at Nottoway Correctional Center (“NCC”) and that he was
refused treatment, see [Dkt. No. 1] at 4, but a full understanding of his claim requires parsing of
over one hundred pages of documentary exhibits. From the exhibits, the Court has gleaned that
plaintiff takes issue with having been “misdiagnosed” and prescribed medications that worsened
an existing liver condition. See generally [Dkt. No. 1]. As a result of the misdiagnosis, plaintiff
suffered “incredible pain” unnecessarily. Id. at 5. Plaintiff blames Dr. York, who is employed
as a physician at NCC, for this alleged wrong.

B. Statement of Undisputed Facts

With respect to this claim, the following facts are not in dispute.' Plaintiff arrived at
NCC on or around October 22, 2020. [Dkt. No. 24-2] (“York Aff.”) at § 7. Upon arrival, he
underwent a battery of lab testing. Id. The panel tested for, among other things, plaintiff's liver
function. Id. Each test returned normal results except for one, which showed plaintiff's blood
glucose levels to be “mildly decreased” as compared to normal. Id.

Although plaintiff submitted several requests in his first weeks and months at NCC, see,
e.g. [Dkt. No. 24-2] at 2 (sick call form dated October 29, 2020, in which plaintiff claimed neck
pain), it was not until January 9, 2021, that he indicated to medical staff that he was experiencing

abdominal pain, see York Aff. at ¢ 8. On that date, a licensed practical nurse saw plaintiff, who

' The statement of undisputed facts is derived from the exhibits accompanying both the
complaint and Dr. York’s Motion. To the extent material exists in the record that neither party
has brought to the Court’s attention and therefore does not contribute to this facts section, that is
of no moment, for it is not the Court’s responsibility to scour the record in search of evidence
supportive of a party’s position, even for pro se litigants. See Fed. R. Civ. P. 56(c)(3) (“The
court need consider only the cited materials, but it may consider other materials in the record.”);
Thompson y. Wiedemann, No. 3:16cv834-HEH, 2018 WL 1568681, at *3 (E.D. Va. Mar. 30,
2018) (stating in context of pro se prisoner-initiated suit that a plaintiff's “failure to respond to
the Motion for Summary Judgment permits the Court to rely solely on the submissions of
Defendants in deciding [the motion]”).
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specifically complained of left upper quadrant pain and stated that he had not had a bowel
movement in three days. Id. In response to these concerns, the nurse performed a urine dipstick
test, which showed the presence of some blood in plaintiff's urine. Id, Plaintiff was additionally
provided magnesium citrate for his constipation and a seven-day supply of ciprofloxacin, an
antibiotic. Id. Dr. York signed off on this note on January 11, 2021. Id. Plaintiff was seen
again the following day, once more complaining of abdominal pain. Id. at 99. Plaintiff
underwent a blood and urine test and, at Dr. York’s request, was provided an increased dosage of
ciprofloxacin and Tylenol. Id.

Following plaintiff's submission of an emergency grievance, Dr. York personally saw
plaintiff on January 12, 2021. Id. at § 10. Plaintiff complained of continued left-side, anterior
abdominal pain. Id. Taking plaintiffs medical history—which included previous diagnoses of
kidney stones—into account, Dr. York concluded that plaintiff was likely suffering a urinary
tract infection. Id. Consequently, defendant instructed plaintiff to continue to take the
antibiotics and Tylenol previously prescribed but additionally instructed plaintiff to increase his
fluid intake and provided plaintiff Zofran, a medication designed for nausea. Id.

Dr. York followed up with plaintiff on January 14, 2021. Id. at 11. Plaintiff did not
complain of abdominal pain on this occasion, but Dr. York nevertheless provided him Miralax
and magnesium citrate to assist with bowel movements. Id. Dr. York additionally ordered
plaintiff an abdominal x-ray, which ultimately showed a “[nJonspecific bowel gas pattern” and
“[nJo definite obstruction.” Id. Dr. York concluded that the exam showed nothing of clinical
significance. Id.

Plaintiff was again seen on January 15, 2021, again complaining of abdominal pain. Id.

at | 12. On this date, he stated that he was able to pass gas and had liquid bowel movements. Id.
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He also stated that his pain level was “not severe.” Id. The nurse administering the visit
informed plaintiff of his x-ray results and provided plaintiff a referral to a “Dr. Mobashar” for
routine care. Id.

On January 17, 2021, plaintiff filed an emergency grievance stating that his skin was
yellow and that his abdominal pain had increased. Id. at ¢ 14. Nurse Bailey called Dr. York to
inform him of this development, and Dr. York responded by ordering plaintiff to be transferred
to VCU Medical Center. Id. Plaintiff was admitted to VCU at approximately 2:15 a.m. on
January 19, 2021. See [Dkt. No. 1-1] at 13. Plaintiff remained there for a week, until January
26, 2021. See [Dkt. No. 1-1] at 13; York Aff. at ¢17. During that time, doctors diagnosed
plaintiff with, and treated plaintiff for, acute hepatitis B. Id. at § 20; [Dkt. No. 1-1] at 13.

Plaintiff returned to NCC with instructions from NCC doctors: ensure plaintiff was not
provided substances that could damage his liver but was provided pantoprazole and miralax.
York Aff. at 9.17. Additionally, plaintiff had been scheduled for a follow-up appointment on
March 3, 2021. Id.

On January 28, 2021, plaintiff filed an informal complaint claiming that he was still
unwell. Id. at ¢ 18. Dr. York examined plaintiff on February 18, 2021 and found that, contrary
to plaintiff's claims, plaintiff was still receiving the medications VCU doctors had recommended
for him. Id. And because plaintiff was scheduled to be transferred to Bland Correctional Center
before his scheduled follow-up appointment, Dr. York contacted VCU to ensure plaintiff's
appointment could occur over the phone. Id. Plaintiff was able to attend his March 3, 2021

appointment via tele-visit. Id.
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II. Standard of Review
“The court shall grant summary judgment if the movant shows that there is no genuine
dispute as to any material fact and the movant is entitled to judgment as a matter of law.” Fed.
R. Civ. P. 56(a). “A dispute is genuine if a reasonable jury could return a verdict for the

nonmoving party,” and “[a] fact is material if it might affect the outcome of the suit under the

governing law.” Variety Stores v. Wal-Mart Stores, Inc., 888 F.3d 651, 659 (4"" Cir. 2018).
Once the moving party has met its burden to show that it is entitled to judgment as a matter of
law, the nonmoving party “must show that there is a genuine dispute of material fact for trial ...

by offering sufficient proof in the form of admissible evidence.” Id. (quoting Guessous v.

Fairview Prop. Inv’rs., LLC, 828 F.3d 208, 216 (4" Cir. 2016)). A district court evaluating a

motion for summary judgment should consider the evidence in the light most favorable to—and

draw all reasonable inferences in favor of—the nonmoving party. United States v. Diebold, Inc.,

369 U.S. 654, 655 (1962).
III. Analysis
Although Dr. York presents two theories in his Motion, the Court need not address both
because, for the reasons that follow, it concludes that the record warrants entry of judgment in
defendant’s favor with respect to the merits of the claim before the Court.
To prevail on a claim regarding prison medical care, a plaintiff must satisfy two

elements.” First, he must show that he suffered from a sufficiently serious medical need. A need

? Plaintiff believes Dr. York to have violated his rights under the Fourteenth Amendment.

See [Dkt. No. 1] at 4. But accepting as true plaintiff's allegation that he was a “convicted and
sentenced state prisoner at the time of the events in question, see id. at 4, it is the Eighth
Amendment that governs plaintiffs claim. Ultimately, though the distinction is academic
because the same standard applies regardless of whether plaintiff's claim arises under the Eighth
or Fourteenth Amendment. See Brown v. Harris, 240 F.3d 383, 388 (4th Cir. 2001) (“In any
case, we need not resolve whether Brown was a pretrial detainee or a convicted prisoner because

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is sufficiently serious if it “has been diagnosed by a physician as mandating treatment or ... is so
obvious that even a lay person would easily recognize the necessity for a doctor’s attention.” Iko
v. Shreve, 535 F.3d 225, 241 (4th Cir. 2008). Second, he must show that a defendant was
deliberately indifferent to his serious medical need. Farmer v. Brennan, 511 U.S. 825, 837
(1994). “[A]n official acts with deliberate indifference if he had actual knowledge of the
prisoner’s serious medical needs and the related risks, but nevertheless disregarded them.”

DePaola v. Clarke, 884 F.3d 481, 486 (4th Cir. 2018) (citing Scinto v. Stansberry, 841 F.3d 219,

225-26 (4th Cir. 2016)). A prisoner’s mere disagreement with medical personnel over the course
of his treatment is inadequate to state a cause of action. See United States v. Clawson, 650 F.3d
530, 538 (4th Cir. 2011).

Here, it is undisputed that at the time relevant to this suit plaintiff was suffering from an
objectively serious medical condition—hepatitis B. Consequently, plaintiff's claim turns on the
second element of the test described above—the deliberate indifference element. Although it is
unfortunate that plaintiff suffered pain for as long as he did, the record makes clear that Dr. York
was anything but indifferent to plaintiff's needs. Indeed, it was not until January 9, 2021 that
plaintiff complained of abdominal pain. Within mere days, Dr. York: (1) sought to minimize
plaintiff's pain by providing him Tylenol; (2) sought to treat plaintiff's symptoms by providing
laxatives and antibiotics; and (3) sought to diagnose plaintiff by ordering urine and blood tests as
well as an x-ray. That Dr. York did not come to a correct diagnosis is unfortunate but does not
open him to constitutional liability given the obvious efforts he took to treat plaintiff. Cf.

Bridges v. Keller, No. 12-7514, 2013 WL 1277329, at *1 (4th Cir. Mar. 29, 2013) (“(Plaintiff’s]

the standard in either case is the same—that is, whether a government official has been
“deliberately indifferent to any [of his] serious medical needs.”) (quoting Belcher v. Oliver, 898
F.2d 32, 34 (4th Cir. 1990)).

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allegations demonstrated that prison officials were promptly responsive to his complaints and
regularly administered treatment. That they ultimately failed to correctly diagnose his injury
does not render their responses deliberately indifferent.”).

The Court observes that the misdiagnosis in this case was eminently reasonable, given
that plaintiff's expressed symptoms—left-side abdominal pain and constipation—were
inconsistent with a diagnosis of a liver ailment.? To Dr. York’s additional credit, the record
makes clear that, as soon as plaintiff expressed that he was suffering symptoms indicative of
possible liver damage—i.e. yellowing skin and increased abdominal pain—Dr. York acted by
having plaintiff sent to a hospital where he could receive more immediate and intensive care.

In short, no reasonable factfinder could assess the record and conclude that Dr. York was
indifferent to plaintiff's medical needs.

IV. Conclusion and Order

For the reasons stated above, Dr. York’s Motion for Summary Judgment [Dkt. No. 22] is
GRANTED, and it is hereby

ORDERED that judgment enter in Dr. York’s favor; and it is further

ORDERED that defendant’s Motion for Extension of Time to File Answer [Dkt. No. 21]
be and is GRANTED, nunc pro tunc to its date of filing such that the Motion for Summary

Judgment is deemed timely filed.

3 The Court can take judicial notice that the liver is located on the right side of a human body.
Cf. Stephen v. Montejo, No. 2:18-cv-1796, 2020 WL 1639992, at *3 (E.D. Cal. Apr. 20, 2020)
(stating that “general medical facts that are not subject to reasonable dispute” are judicially
noticeable and, applying this logic, taking judicial notice of “the anatomy and function of the
prostate”); Vilfranc v. McDonald, 28 Vet. App. 357, 360 (2017) (“[T]he Court here takes judicial
notice of the anatomy of the jaw.”).

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To appeal this decision, plaintiff must file a Notice of Appeal (“NOA”) with the Clerk’s
Office within thirty (30) days of the date of this Order, including in the NOA the date of the
Order plaintiff wants to appeal. Plaintiff need not explain the grounds for appeal until so
directed by the appellate court. Failure to file a timely NOA waives the right to appeal this

Order.

The Clerk is directed, pursuant to Fed. R. Civ. P. 58, to (1) enter final judgment in favor
of Dr. York, to (2) forward a copy of this Order to plaintiff, pro se, and to counsel of record, and

to (3) close this civil action.

Entered this 272 yay of i buy 2022.

Alexandria, Virginia United States District Judge

